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      Wilson v. Consumer Legal Group
                                       1:24 02276
                              Case Name: Case Number: CV - (____) (MMH)

 PROPOSED DISCOVERY PLAN/SCHEDULING ORDER
                                                                             NOT
                                                                  DON     APPLICABLE    DATE
                                                                   E

A. ACTIONS REQUIRED BEFORE THE INITIAL CONFERENCE
 1. Rule 26(f) Conference held                                    X                     6/24/24

 2. Rule 26(a)(1) disclosures exchanged                           X                    9/15/24

 3. Requested:

    a. Medical records authorization                                          x

    b. CPL § 160.50 releases for arrest records                               x

    c. Identification of John Doe/Jane Doe defendants                         X

 4. Procedures for producing Electronically
     Stored Information (ESI) discussed

 5. Protective Order to be submitted for court approval                       X
     (see Standing Protective Order on the Chambers
     website)

B. SETTLEMENT PLAN
 1. Plaintiff to make settlement demand                          X                     10/15/24

 2. Defendant to make settlement offer                           X                     10/30/24

   3. Referral to EDNY mediation program pursuant to                          x
  Local Rule 83.8? (If yes, enter date for mediation to be
    completed)

 4. Settlement Conference (proposed date)                            x                  11/19/24

C. PROPOSED DEADLINES

 1. Motion to join new parties                                                         11/30/24

 2. Motion to amend pleadings                                                           11/30/24

 3. Initial documents requests and interrogatories                                      9/30/24
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 4. All fact discovery to be completed (including disclosure                               1/30/25
     of medical records)

   5. Joint status report certifying close of fact discovery                               2/15/25
    and indicating whether expert discovery is needed



                                                                                    Rev. 06-28-2021
               6. Expert discovery (only if needed) Check here if not applicable □

Plaintiff expert proposed field(s) of expertise:    Telephone systems and data analysis

 Defendant expert proposed field(s) of
 expertise:
                                                                               NOT
                                                                      DON   APPLICABLE     DATE
                                                                       E

     a. Affirmative expert reports due                                                    2/30/25

     b. Rebuttal expert reports due                                                       3/30/25

     c. Depositions of experts to be completed                                            4/30/25

 7. Completion of ALL DISCOVERY (if different from C.4)                                   5/30/25

 8. Joint status report certifying close of ALL                                             6/15/25
     DISCOVERY and indicating whether dispositive
     motion is anticipated

 9. If any party seeks a dispositive motion, date to a. file                             6/30/25
      request for pre-motion conference (if required), or b.
      file briefing schedule for the motion

  10. Proposed Joint Pre-Trial Order due (if no                                           7/30/25
      dispositive motion filed)

D. CONSENT TO MAGISTRATE JUDGE JURISDICTION

 1. All parties consent to Magistrate Judge jurisdiction for dispositive motions?            ◻ Yes
                                                                                             ◻ No

 2. All parties consent to Magistrate Judge jurisdiction for trial?                          ◻ Yes
                                                                                             ◻ No

E. COLLECTIVE ACTION AND CLASS ACTION MOTIONS ONLY

1. Motion for collective action certification in FLSA cases

      a. Response due
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         b. Reply due

    2. Motion for Rule 23 class certification

         a. Response due                                                         4/30/25

         b. Reply due                                                            5/30/25



This Scheduling Order may be altered or amended only upon a showing of good cause based
on circumstances not foreseeable as of the date of this order.

SO ORDERED:

MARCIA M. HENRY Date
United States Magistrate Judge


                                                                          Rev. 06-28-2021
